                Case 16-18334-LMI                   Doc 73          Filed 05/30/17              Page 1 of 10




B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                            Í±«¬¸»®²                     Florida
                             _______________ District Of _______________
In re Û¬¬¿ Ó½Õ»²¦·»
      ______________________________,                                     ïêóïèííìóÔÓ×
                                                                 Case No. ________________



                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
transfer, other than for security, of the claim referenced in this evidence and notice.


        Ò¿¬·±²-¬¿® Ó±®¬¹¿¹»ô ÔÔÝ
______________________________________                                      Ý·¬·³±®¬¹¿¹»ô ×²½ò
                                                                            ____________________________________
            Name of Transferee                                                          Name of Transferor

Name and Address where notices to transferee                                 Court Claim # (if known): î
should be sent:                                                              Amount of Claim: üïðìôéêðòéç
 Nationstar Mortgage, LLC                                                    Date Claim Filed: ðèñíðñîðïê
 Attention: Bankruptcy Department, PO Box 619096
 Dallas, TX 75261-9741


       (877) 343-5602
Phone: ______________________________                                               øèêê÷ êïíóëêíê
                                                                            Phone: __________________________
                            îíëí
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: èêðë
                                                                                                         __________

Name and Address where transferee payments
should be sent (if different from above):
Nationstar Mortgage, LLC
Bankruptcy Department, P.O. Box 619094
Dallas, Texas 75261-9741

        (877) 343-5602
Phone: _______________________________
Last Four Digits of Acct #: îíëí
                            _______________



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

    ñ-ñ Ô·²¼-»§ Í¿ª¿-¬¿²±
By:__________________________________                                             ðëñíðñîðïé
                                                                             Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 2 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 3 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 4 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 5 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 6 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 7 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 8 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 9 of 10
Case 16-18334-LMI   Doc 73   Filed 05/30/17   Page 10 of 10
